            Case 1:17-cv-02469-BAH Document 60 Filed 03/13/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Africa Growth Corporation                          )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 ) Case No: 17-cv-2469
                                                   )
Republic of Angola, et al.                         )
                                                   )
      Defendants.                                  )
_____________________________________              )


            PLAINTIFF AFRICA GROWTH CORPORATION’S STATUS
        REPORT AND REQUEST FOR BRIEF ADDITIONAL EXTENSION OF
        TIME TO COMPLY WITH COURT’S ORDER REGARDING SERVICE
        OF PROCESS ON DEFENDANTS ANTÓNIO FRANCISCO ANDRADE,
        MIGUEL KENEHELE ANDRADE, AND NATASHA ANDRADE SANTOS

       Plaintiff Africa Growth Corporation (“Plaintiff” or “AFGC”), hereby informs the Court

of the current status of efforts to effect service of process of the Summons and Complaint on

Defendants António Francisco Andrade, Miguel Kenehele Andrade, and Natasha Andrade

Santos (collectively, the “Andrade Defendants”) and requests an additional brief extension of

time to complete service of process and file proof thereof, as follows:

       1.       The Court entered its last Minute Order on February 21, 2019, granting a brief

additional extension of time for AFGC to comply with the Court’s Order directing AFGC to

effect service on the Andrade Defendants by March 13, 2019.

       2.       Since February 21, 2019, AFGC has taken several steps and should be near

completion of service of process on the Andrade Defendants. On February 26, 2019, the Clerk of

the Court acknowledged receipt of AFGC’s renewed request to effect service of process on the

Andrade Defendants, filing a copy of undersigned counsel’s request on the case docket [DE 58].
            Case 1:17-cv-02469-BAH Document 60 Filed 03/13/19 Page 2 of 3



       3.       On February 28, 2019, the Clerk of the Court issued its certificate of mailing one

copy of the summons and complaint upon each of the Andrade Defendants by DHL [DE 59].

       4.       Since then, AFGC, through its counsel, has remained in continuous contact with

DHL in an effort to provide all possible information to complete the delivery of the Summons

and Complaint to the precise location of the Andrade Defendants’ residence. As of March 13,

2019, a DHL representative represented to AFGC’s counsel that delivery would occur today.

Tracking information for the three packages reflects that DHL has scheduled the packages for

delivery. See Composite Exhibit A, DHL Tracking Information.

       5.       Based on this information, AFGC expects delivery of the three packages should

have occurred, or if not, should occur within one week. AFGC respectfully requests an extension

of time until Friday, March 22, 2019, to complete this pending service of the summons and

complaint upon the Andrade Defendants through DHL, and accordingly, to inform the Court.

       6.       To the extent that DHL is unable to complete delivery of these packages within

the proposed timeframe, AFGC will file a request seeking leave to effect service of process on

the Andrade Defendants through an alternative means.

       7.       AFGC’s request for a brief additional extension of the deadline to comply with

the Court’s Order regarding service is in good faith and not made for any dilatory or other

improper purpose. No prejudice will result from granting this brief extension of time.

       WHEREFORE, Plaintiff AFGC respectfully requests an extension of time until Friday,

March 22, 2019, to comply with the Court’s Order regarding service of process on the Andrade

Defendants, and for any further relief that the Court deems just under the circumstances.




                                                2
        Case 1:17-cv-02469-BAH Document 60 Filed 03/13/19 Page 3 of 3



Dated: March 13, 2019              Respectfully submitted,

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                                      3
